       Case 2:17-cr-00012-SMJ     ECF No. 98    filed 07/09/20   PageID.553FILEDPage
                                                                                 IN THE
                                                                                        1 of 4
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON



                                                                       Jul 09, 2020
1                        UNITED STATES DISTRICT COURT                     SEAN F. MCAVOY, CLERK

                        EASTERN DISTRICT OF WASHINGTON
2
     UNITED STATES OF AMERICA,                   No. 2:17-cr-00012-SMJ
3
                               Plaintiff,
4                                                ORDER DENYING MOTION FOR
                  v.                             RECONSIDERATION
5
     LEE WILLIAM FRECH,
6
                               Defendant.
7

8          Before the Court, without oral argument, is pro se Defendant’s Motion for

9    Reconsideration Based on New Information, ECF No. 97. Defendant seeks

10   reconsideration of the Court’s June 22, 2020 Order denying his motion for early

11   release. Having reviewed the motion and the file in this matter, the Court is fully

12   informed and finds no basis to reconsider its earlier ruling.

13         On May 20, 2020, the Court received Defendant’s Motion to Reduce

14   Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) seeking a reduction in his

15   sentence due to the risks posed by coronavirus disease 2019 (COVID-19), ECF

16   No. 89. The Government filed a response to Defendant’s motion on June 11, 2020,

17   opposing early release. ECF No. 94. The Court denied Defendant’s motion on

18   June 22, 2020, finding he had not established any extraordinary and compelling

19   circumstance warranting compassionate release. Id. at 5–6.

20         On June 26, 2020, the Court received Defendant’s reply brief concerning his




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1    motion for compassionate release. ECF No. 96. Defendant’s reply brief was dated

2    and apparently transmitted via mail from the facility where he is incarcerated on

3    June 22, 2020. See id. at 6. On July 6, 2020, the Court received Defendant’s Motion

4    for Reconsideration Based on New Evidence, ECF No. 97. Defendant seeks

5    reconsideration of the Court’s Order denying compassionate release, arguing the

6    motion was denied prematurely and that newly-submitted evidence provides

7    sufficient justification for early release. Id. at 1–3.

8           Motions for reconsideration are disfavored. See LCrR 12(c)(5). The party

9    seeking reconsideration must generally establish the Court’s prior ruling constituted

10   “manifest error” or point to “new facts or legal authority which could not have been

11   brought to [the Court’s] attention earlier with reasonable diligence.” Id. For two

12   reasons, Defendant’s motion for reconsideration falls short of this standard.

13          First, Defendant is incorrect that his reply brief was submitted “in a timely

14   manner.” ECF No. 97 at 1. Defendant’s motion for compassionate release, ECF

15   No. 89, was received by the Court on May 20, 2020, and noted for hearing thirty

16   days later, on June 19, 2020, consistent with the applicable Local Rule. See

17   LCivR 7(i)(2)(A) (“The date of the hearing for nondispositive motions must be at

18   least 30 days after the motion’s filing.”). Defendant’s optional reply brief was due

19   seven days after the filing of the Government’s response. LCivR 7(d)(3). The

20   Government’s response was filed on June 11, 2020, and thus the deadline for




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1    Defendant’s reply brief was June 18, 2020. See ECF No. 94. Thus, even allowing

2    for delays associated with the transmittal of Defendant’s reply brief, that filing was

3    not timely. See LCivR 7(d)(3); ECF No. 96 at 3.

4          Second, even if the Court were to consider Defendant’s untimely reply brief,

5    he fails to identify any newly discovered facts that could not have been brought to

6    the Court’s attention earlier warranting reconsideration. See LCrR 12(c)(5). In

7    denying Defendant’s motion for compassionate release, the Court noted he had

8    failed to identify any specific health condition or other personal characteristic that

9    elevated his risk from COVID-19. ECF No. 95 at 5–6. Though the Government

10   noted this in its response, see ECF No. 94 at 5, Defendant did not address the issue

11   in his reply brief. See ECF No. 96. For the first time in Defendant’s motion for

12   reconsideration, he asserted he is obese, and thus at greater risk from COVID-19.

13   ECF No. 97 at 2. Defendant provided no evidence in support of this claim, which is

14   not specifically reflected in Bureau of Prisons records included with his original

15   motion. See ECF No. 89 at 10. More importantly, however, Defendant does not

16   explain how his alleged obesity constitutes new evidence that could not have been

17   brought to the Court’s attention earlier in the exercise of reasonable diligence. See

18   LCrR 12(c)(5). There is no indication that Defendant’s obesity arose after he filed

19   his motion—nor even after his untimely reply. As such, Defendant has not made

20   the showing necessary for the Court to reconsider its ruling denying his motion for




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1    compassionate release.

2          Accordingly, IT IS HEREBY ORDERED:

3                Defendant’s Motion for Reconsideration Based on New Information,

4                ECF No. 97, is DENIED.

5          IT IS SO ORDERED. The Clerk’s Office is hereby directed to enter this

6    order and provide copies to pro se Defendant and counsel for the Government.

7          DATED this 9th day of July 2020.

8                      _________________________
                       SALVADOR MENDOZA, JR.
9                      United States District Judge

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